                   Case 2:21-mj-30421-DUTY ECF No. 1, PageID.1
                                                AUSA:            Filed 09/01/21 Telephone:
                                                        Thomas Franzinger         Page 1 of   7 226-9100
                                                                                           (313)
AO 91 (Rev. ) Criminal Complaint             Task Force Officer:     Brian Shock                   Telephone: (313) 348-8336

                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                 Eastern District of Michigan

United States of America
   v.                                                                                 Case: 2:21-mj-30421
Sophia Martini                                                               Case No. Judge:  Unassigned,
aka Sophia Gjonaj                                                                     Filed: 09-01-2021 At 10:54 AM
                                                                                      USA v. SOPHIA MARTINI (CMP)(MLW)




                                                    CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of           Jan. 1, 2019-Jan. 31, 2021          in the county of               Macomb       in the
         Eastern         District of       Michigan         , the defendant(s) violated:
                    Code Section                                             Offense Description

18 U.S.C. §§ 1956 & 1957                                 Money Laundering

31 U.S.C. § 5324                                        Structuring




           This criminal complaint is based on these facts:
See attached Affidavit.




        Continued on the attached sheet.
                                                                                            Complainant’s signature

                                                                        Brian Shock, Task Force Officer, DEA
                                                                                             Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date:     September 1, 2021                                                                    Judge’s signature

City and state: Detroit, MI                                             Hon. Anthony P. Patti, Unites States Magistrate Judge
                                                                                             Printed name and title
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                         AFFIDAVIT IN SUPPORT OF
                          CRIMINAL COMPLAINT

      I, Brian Shock, being first duly sworn, depose and state follows:

              INTRODUCTION AND AGENT BACKGROUND

      1.     I am a duly sworn Task Force Officer (TFO) of the United States Drug

Enforcement Administration (DEA) assigned to the Detroit Field Division, Eastern

District of Michigan. As such, I am a law enforcement officer of the United States

within the meaning of 18 U.S.C. § 2510(7), who is empowered by law to conduct

investigations of, to make requests for warrants and to make arrests for offenses

enumerated in 18 U.S.C. § 2516(1). I have been a sworn Michigan law enforcement

officer for approximately 26 years, am currently a Lieutenant of the Roseville Police

Department, and have been employed with the Roseville Police Department for 21

years. Prior to this, I was employed as an officer by the City of Detroit Police

Department for approximately 5 years. I am a sworn DEA TFO since March of 2020

and prior to that I was assigned to Roseville Police Department Narcotics Section

for 10 years. I have received specialized training in drug trafficking, money

laundering, diversion of controlled substances, and investigating drug related crimes,

from the Detroit Metropolitan Police Academy, the Macomb County Community

College Criminal Justice Institute, the Oakland County Criminal Justice Institute,

the Michigan State Police as well as the DEA. During my career, I have performed


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undercover assignments portraying roles of both purchaser and dealer of narcotics.

Currently, I am assigned to the DEA Financial Investigations Team (FIT) and use

all my prior experience and training to investigate any drug trafficking activity

involving a money laundering component. I have also participated in multiple Title

III investigations involving drug trafficking.

      2.     I make this affidavit based on personal knowledge derived from my

participation in this investigation and information from oral and written reports

about this investigation and others that I have received from state and federal law

enforcement officers. The information outlined below was provided for the limited

purpose of establishing probable cause and does not contain all details or facts of

which I am aware relating to this investigation.

      3.     I am requesting an arrest warrant based on probable cause that SOPHIA

drug, also known as SOPHIA GJONAJ, date of birth XX/XX/1986, has violated 18

U.S.C. §§ 1956; 1957 (money laundering) and 31 U.S.C. § 5324 (structuring).

                               PROBABLE CAUSE

      4.     DEA has been investigating Leksi Vulaj, also known as Aleksander

Vulaj and Aleksander Vuljaj for his role in distributing controlled substances within

the Eastern District of Michigan. Vulaj was previously convicted in the District of

Kansas in 2012 of interstate travel in aid of racketeering, in violation of 18 United

States Code § 1952, after he was arrested for driving from Arizona to Kansas to pick


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up more than a kilogram of methamphetamine. Vulaj was sentenced to 60 months

in prison and was deported from the United States to Montenegro in 2016.

      5.     On June 9, 2021, a federal grand jury in the Eastern District of Michigan

charged Leksi Vulaj, also known as Aleksander Vulaj and Aleksander Vuljaj, in a

Superseding Indictment (21-cr-20287) for violations of 21 U.S.C. §§ 846

(conspiracy to distribute a controlled substance), 18 U.S.C. § 1956(h) (conspiracy to

launder monetary instruments), 18 U.S.C. § 1956(a)(2)(B)(i) (laundering of

monetary instruments), and 18 U.S.C. § 1957 (monetary transactions in property

derived from specific unlawful activity). Specifically, Vulaj was charged with

conspiring to distribute more than 10 kilograms of cocaine and more than 100 grams

of carfentanyl, an opioid analogue of fentanyl.

      6.     In late 2020, I lawfully monitored a phone call between Vulaj and one

of his Detroit-area criminal associates. During that call, Vulaj described how his

girlfriend, Sophia MARTINI, collected proceeds from his drug sales and either

deposited those proceeds into banks or provided them to money launderers.

MARTINI is a resident of Macomb County within the Eastern District of Michigan.

      7.     Over at least two years, MARTINI has engaged in activity consistent

with laundering and transferring proceeds from illegal drug sales. Bank records show

that between at least May 2019 and January 2021, MARTINI has made over 350

deposits of U.S. currency into ATMs at Detroit-area banks, totaling approximately


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$737,355.00. MARTINI made the deposits into accounts at PNC Bank, Chase Bank,

and Bank of America, into various accounts held in her own name, as well as in the

names of a suspected co-conspirator in the Eastern District of North Carolina) and a

company run by the co-conspirator. The company’s name contains “LV” in its name,

which are the initials of Leksi Vulaj. Each of MARTINI’s deposits appear to be

structured; that is, they are each below the $10,000.00 threshold that would have

required the bank to file a currency transaction report. MARTINI also took steps to

mask her transactions by making several deposits into different accounts at the same

ATM, and by spreading her deposits out through ATMs at different branches of the

same bank in the Detroit area. Video surveillance obtained from PNC Bank for

deposits on October 1, 2, 5, and 6, 2020, confirmed that MARTINI was the person

making the deposits.

      8.    Investigators also identified more than 25 international wire transfers

during the same time period of May 2019 through January 2021 from bank accounts

held by MARTINI, the co-conspirator in North Carolina, and the company. At least

13 of these transfers were from MARTINI’s accounts and were for amounts greater

than $10,000.00. Each of the wires was from banks in the United States to bank

accounts in Montenegro, with the listed beneficiary or recipient as “Leksi Vulaj.”

      9.    Travel records confirm MARTINI’s association with Leksi Vulaj. In

February 2021, MARTINI traveled from the United States to Montenegro. Border


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records obtained through law enforcement intelligence showed that MARTINI

regularly crossed the border between Montenegro and Albania with a man using

identity documents in the name of “Leksi Vulaj.” Agents obtained intelligence

information showing that “Leksi Vulaj’s” date of birth is the same date of birth used

by “Aleksander Vulaj” previously convicted in the District of Kansas.

      10.    MARTINI again departed for Europe on or about June 7, 2021. Law

enforcement intelligence confirmed that she crossed the Montenegro-Albania border

with Leksi Vulaj several times. MARTINI returned to the Eastern District of

Michigan on or about July 17, 2021.

                                  CONCLUSION

      11.    Based on my training and experience and the facts set forth in this

affidavit, there is probable cause to believe that between on or about January 1, 2019,

through on or about January 31, 2021, Sophia MARTINI, also known as Sophia

GJONAJ, laundered drug proceeds (18 U.S.C. § 1956), structured deposits to evade

currency reporting requirements (31 U.S.C. § 5324), and engaged in monetary

transactions over $10,000 involving illegal drug proceeds (18 U.S.C. § 1957).




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                                               Brian Shock
                                               Task Force Officer, DEA



Sworn to before me and signed in my presence
And/or by reliable electronic means.



_______________________________
Hon. Anthony P. Patti September 1, 2021
United States Magistrate Judge




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